Case 2:19-cv-13588-NGE-DRG ECF No. 14, PageID.43 Filed 03/30/20 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

GRAYSON-BEY,

                        Plaintiff,         Civil Action No. 19-13588

v.                                         Nancy G. Edmunds
                                           United States District Judge

SOUTHFIELD POLICE DEPARTMENT,
OFFICER FOX, OFFICER MOORE,                David R. Grand
MICHAEL WOJCIECHOWSKI,                     United States Magistrate Judge

                        Defendants.
__________________________________/

                              SCHEDULING ORDER



      INITIAL DISCLOSURES:                            April 23, 2020

      WITNESS LIST:                                   June 10, 2020

      DISCOVERY CUTOFF:                               August 7, 2020

      DISPOSITIVE MOTION:                             September 14, 2020

      JOINT FINAL PRETRIAL STATEMENTS:                TO BE SCHEDULED

      TRIAL BRIEFS, MOTIONS IN LIMINE:                TO BE SCHEDULED

      TRIAL DATE:                                     TO BE SCHEDULED

      THERE WILL BE NO ADJOURNMENTS OF THESE DATES, OTHER THAN
      UPON MOTION SHOWING OF GOOD CAUSE.

      IT IS SO ORDERED.


Dated: March 30, 2020                 s/David R. Grand
                                      DAVID R. GRAND
                                      UNITED STATES MAGISTRATE JUDGE
Case 2:19-cv-13588-NGE-DRG ECF No. 14, PageID.44 Filed 03/30/20 Page 2 of 2




                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on March 30, 2020.

                                                    s/Eddrey O. Butts
                                                    EDDREY O. BUTTS
                                                    Case Manager
